Case 3:19-cr-00083-M     Document 533       Filed 05/23/25   Page 1 of 4    PageID 19856



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 UNITED STATES OF AMERICA                    )
                                             )
 v.                                          )   No. 3:19-cr-083-M-1
                                             )   Chief Judge Barbara M. G. Lynn
 RUEL M. HAMILTON                            )
                                             )




                           MR. HAMILTON’S WITNESS LIST




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Case 3:19-cr-00083-M        Document 533        Filed 05/23/25       Page 2 of 4     PageID 19857



        In addition to those individuals the government has indicated to the defense it will call as

 witnesses, if Mr. Hamilton puts on a case in chief, he would list the following possible witnesses:

         Witness Name                          Type                       Probable/Possible

  Carolyn King Arnold              Fact                             Possible

  John Baldwin                     Fact                             Possible

  Kristie Bonner                   Fact                             Possible

  Betty Culbreath                  Fact                             Possible

  Ester Davis                      Fact                             Possible

  Joyce Foreman                    Fact                             Possible

  John Gilbert                     Fact                             Probable

  A.C. Gonzalez                    Fact                             Possible

  Renita Griggs                    Custodian                        Possible

  Scott Griggs                     Fact                             Probable

  Chris Hamilton                   Fact                             Probable

  John Hamilton                    Custodian                        Possible

  Clay Jenkins                     Fact                             Probable

  Mattye Jones                     Fact                             Possible

  Thomas Jones                     Fact                             Probable

  Philip Kingston                  Fact                             Probable

  Bernadette Nutall                Fact                             Probable

  Kimberly Olsen                   Fact                             Possible

  Diane Ragsdale                   Fact                             Probable

  Danielle Sloan                   Custodian                        Probable

  Regina Turner                    Fact                             Probable


                                                 1
Case 3:19-cr-00083-M     Document 533       Filed 05/23/25     Page 3 of 4    PageID 19858



        Witness Name                        Type                    Probable/Possible

  Albert Wash                  Fact                           Possible

  Christy Wiggins              Fact                           Probable



 Dated: May 23, 2025                          Respectfully submitted,

                                              /s/ Thomas M. Melsheimer

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                                             2
Case 3:19-cr-00083-M         Document 533        Filed 05/23/25       Page 4 of 4       PageID 19859



                                  CERTIFICATE OF SERVICE

        I certify that on May 23, 2025, a copy of the foregoing was filed with the Court’s

 electronic case filing system, thereby effecting service on counsel for all parties.

                                        /s/Thomas M. Melsheimer
                                        Thomas M. Melsheimer




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